Case 2:20-cv-00406-SSS-JC                  Document 296 Filed 10/25/24   Page 1 of 6 Page ID
                                                 #:22468

 1 NICOLAS A. JAMPOL (State Bar No. 244867)
    nicolasjampol@dwt.com
 2 CYDNEY SWOFFORD FREEMAN (State Bar No. 315766)
    cydneyfreeman@dwt.com
 3 MEENAKSHI KRISHNAN (pro hac vice)
    meenakshikrishnan@dwt.com
 4 CARL MAZUREK (pro hac vice)
    carlmazurek@dwt.com
 5 DAVIS WRIGHT TREMAINE LLP
   865 South Figueroa Street, 24th Floor
 6 Los Angeles, California 90017-2566
   Tel.: (213) 633-6800
 7 Fax: (213) 633-6899
 8
                                        UNITED STATES DISTRICT COURT
 9
                                  CENTRAL DISTRICT OF CALIFORNIA
10
11 FRANCESCA GREGORINI,                                    Case No. 2:20-cv-00406-SSS-JC
12                                      Plaintiff,         DEFENDANTS’ OPPOSITION TO
                                                           PLAINTIFF’S MOTION IN LIMINE
13            vs.                                          #4 REGARDING THE MEDIA
14 APPLE INC., a California corporation;                   Date:    November 15, 2024
   M. NIGHT SHYAMALAN, an                                  Time:    2:00 p.m.
15 individual; BLINDING EDGE                               Dept.:   Courtroom 2
   PICTURES, INC., a Pennsylvania
16 corporation; UNCLE GEORGE
   PRODUCTIONS, a Pennsylvania
17 corporate; ESCAPE ARTISTS LLC, a
   California limited liability company;
18 DOLPHIN BLACK PRODUCTIONS, a
   California corporation; TONY
19 BASGALLOP, an individual; ASHWIN
   RAJAN, an individual; JASON
20 BLUMENTHAL, an individual; TODD
   BLACK, an individual; STEVE TISCH,
21 an individual; and DOES 1-10, inclusive,
22                                      Defendants.
23
24
25
26
27
28


     DEFENDANTS’ OPPOSITION TO PLAINTIFF’S MOTION IN LIMINE #4
     4858-4889-9056v.2 0113237-000003
Case 2:20-cv-00406-SSS-JC               Document 296 Filed 10/25/24   Page 2 of 6 Page ID
                                              #:22469

 1                                              INTRODUCTION
 2            Plaintiff’s motion to exclude all evidence of “media coverage about this
 3 litigation” is another attempt to prevent the jury from hearing evidence that Plaintiff
 4 made false statements about the origin of her film The Truth About Emanuel
 5 (“Emanuel”). As Defendants explained during the parties’ meet and confer, they do
 6 not intend to rely generally on independent third-party reporting about the case, but
 7 instead intend to focus on Plaintiff’s own false statements to the press about the
 8 origin of Emanuel. As explained in Defendants’ oppositions to Plaintiff’s motion in
 9 limine #3 and #5, Defendants do intend to present evidence that Plaintiff
10 consistently misrepresented the origin of Emanuel to the Copyright Office,
11 Defendants, and the press.
12            In particular, Defendants will show that one of Plaintiff’s many
13 misstatements about the origin of Emanuel was to The Atlantic, which repeated
14 Plaintiff’s false assertion that it was Plaintiff who created the story. In reality, it
15 was Plaintiff’s former friend Sarah Thorp who created the story on which Emanuel
16 is based, as Plaintiff herself admitted. Evidence of Plaintiff’s false statements to the
17 media and others about the origin and ownership of Emanuel goes to the heart of
18 Defendants’ arguments concerning Plaintiff’s invalid copyright registration, her
19 unclean hands, and her credibility as a witness.
20            Defendants should be permitted to present this evidence of Plaintiff’s
21 misrepresentations because they are material to Defendants’ defenses in this case.
22                      DEFENDANTS SHOULD BE PERMITTED TO PRESENT
23                     EVIDENCE OF PLAINTIFF’S PRIOR STATEMENTS
24            Plaintiff’s misstatements about the origin of Emanuel are highly relevant to
25 several of Defendants’ defenses and to Plaintiff’s credibility more broadly.
26 Moreover, while this evidence is harmful to Plaintiff, it is not unfairly prejudicial.
27 It is admissible, highly relevant, and should be allowed.
28
                                                                           DAVIS WRIGHT TREMAINE LLP
                                                     1                       865 S. FIGUEROA ST, SUITE 2400
     DEFENDANTS’ OPPOSITION TO PLAINTIFF’S MOTION IN LIMINE #4            LOS ANGELES, CALIFORNIA 90017-2566
                                                                                       (213) 633-6800
     4858-4889-9056v.2 0113237-000003                                                Fax: (213) 633-6899
Case 2:20-cv-00406-SSS-JC               Document 296 Filed 10/25/24   Page 3 of 6 Page ID
                                              #:22470

 1    A.       Plaintiff’s Misrepresentations Are Highly Relevant
 2            Plaintiff’s misrepresentations to the media and other individuals in
 3 connection with her attempts to promote her lawsuit against Defendants are relevant
 4 to show Plaintiff’s pattern of deception regarding the origin of Emanuel. This
 5 evidence supports Defendants’ argument that Plaintiff has unclean hands in that she
 6 pretended she created the story underlying Emanuel and accused Defendants of
 7 copying that story, when, in fact, it was Plaintiff who took that story from Thorp
 8 and has since tried to cover it up. It also bears directly on Plaintiff’s credibility in
 9 that it demonstrates that she is willing to misrepresent and mislead as to
10 foundational information about the allegedly infringed work in this case.
11            In her attempt to make her motion seem like a routine motion in limine to
12 exclude media coverage, Plaintiff falsely contends that the media “reacted” when
13 she filed this lawsuit and that “[a]s media contacted Ms. Gregorini, she responded
14 to several requests for an interview or comment.” Dkt. No. 270 at 2. In reality,
15 Plaintiff did more than merely “respond” to media requests—she orchestrated them.
16 Defendants intend to show that The Atlantic did not “react” to her lawsuit, it
17 reported on an interview that Plaintiff and her public-relations firm coordinated so
18 that it could come out on the same day as the filing of the complaint. And in that
19 interview with The Atlantic, Plaintiff pushed the false narrative that she created the
20 story on which Emanuel is based. See Dkt. No. 272-18 (“The Atlantic Article”)
21 (writing that Plaintiff “pulled the story from her own grief over her inability to
22 conceive a child”). Plaintiff knew, however, that it was Thorp who actually created
23 the story on which Emanuel is based. This evidence is highly relevant to Plaintiff’s
24 misstatements to the Copyright Office, her credibility, and Defendants’ unclean
25 hands defense.
26            Plaintiff mischaracterizes the cases she relies on for the proposition that
27 courts “regularly exclude evidence about media coverage of a case.” Dkt. No. 270
28 at 5. In Fernandez v. Taser International, the court perfunctorily granted a motion
                                                                           DAVIS WRIGHT TREMAINE LLP
                                                     2                       865 S. FIGUEROA ST, SUITE 2400
     DEFENDANTS’ OPPOSITION TO PLAINTIFF’S MOTION IN LIMINE #4            LOS ANGELES, CALIFORNIA 90017-2566
                                                                                       (213) 633-6800
     4858-4889-9056v.2 0113237-000003                                                Fax: (213) 633-6899
Case 2:20-cv-00406-SSS-JC               Document 296 Filed 10/25/24   Page 4 of 6 Page ID
                                              #:22471

 1 in limine to exclude evidence of media coverage because it was an unopposed
 2 request. 2008 WL 4775779, at *2, *5 (N.D. Cal. Oct. 27, 2008). Plaintiff’s reliance
 3 on Miller ex rel. Miller v. Ford Motor Co., is also unavailing. There, the court
 4 granted a motion in limine precluding evidence of general media coverage of the
 5 case, partly because it was irrelevant and plaintiff did not “seek to admit specific
 6 items” from this media coverage. 2004 WL 4054843, at *16-17 (M.D. Fla. July 22,
 7 2004). Unlike Miller, Plaintiff’s misrepresentations about the origin of Emanuel are
 8 highly relevant and Defendants seek to present specific evidence regarding The
 9 Atlantic article and communications about Plaintiff’s attempts to garner coverage
10 based on a false version of events. See, e.g., Dkt. No. 272-17 (“Exhibit R”); Dkt.
11 No. 272-24 (“Exhibit Y”) (communications reflecting Plaintiff’s attempts to garner
12 attention for the lawsuit by asking her personal and professional network to publicly
13 post prewritten misleading statements about Emanuel).
14            While Defendants are not seeking to introduce independent reporting about
15 this case, Plaintiff’s misrepresentations to the media are highly relevant and should
16 be allowed.1
17    B.          This Evidence Is Not Unfairly Prejudicial
18            Plaintiff also contends that evidence about her misrepresentations to the
19 media would be unfairly prejudicial, but she provides no meaningful explanation for
20 why evidence of Plaintiff’s prior statements would be unfair. Dkt. No. 270 at 3; see
21 Vasserman v. Henry Mayo Newhall Mem’l Hosp., 65 F. Supp. 3d 932, 946 (C.D.
22 Cal. 2014) (explaining that “‘[u]nfair prejudice’ as used in Rule 403 is not to be
23 equated with testimony [or evidence] simply adverse to the opposing party.
24 Virtually all evidence is prejudicial, or it isn’t material. The prejudice must be
25
26            1
          Plaintiff vaguely references Defendants’ reaction to the litigation as “colder
27 and more muted,” Dkt. No. 270 at 3, which simply means that, unlike Plaintiff,
28 Defendants did not make public statements about the litigation, and certainly did
   not make false statements about the litigation.
                                                                           DAVIS WRIGHT TREMAINE LLP
                                                     3                       865 S. FIGUEROA ST, SUITE 2400
     DEFENDANTS’ OPPOSITION TO PLAINTIFF’S MOTION IN LIMINE #4            LOS ANGELES, CALIFORNIA 90017-2566
                                                                                       (213) 633-6800
     4858-4889-9056v.2 0113237-000003                                                Fax: (213) 633-6899
Case 2:20-cv-00406-SSS-JC               Document 296 Filed 10/25/24   Page 5 of 6 Page ID
                                              #:22472

 1 ‘unfair.’”) (quoting Dollar v. Long Mfg., N.C., Inc., 561 F.2d 613, 618 (5th Cir.
 2 1977)) (second alteration added). What would be unfair in this case is to prevent
 3 the jury from hearing about Plaintiff’s consistent pattern of knowingly
 4 misrepresenting the origin of Emanuel, particularly to the extent Plaintiff intends to
 5 testify regarding this topic at trial.
 6            Plaintiff relies on Rauda v. City of Los Angeles, Dkt. No. 270 at 4, but that
 7 case supports Defendants’ position that a party’s false or inconsistent statements to
 8 the media can be introduced at trial. 2010 WL 11549632, at *11-12 (C.D. Cal. Feb.
 9 22, 2010). While the court granted defendants’ motion in limine to preclude
10 plaintiff from presenting news articles about the case, the Rauda court found that
11 “evidence regarding quotes made by the LAPD through the media is admissible for
12 impeachment purposes in the event inconsistent statements are made at trial.” Id.
13 Plaintiff’s reliance on Miami Valley Fair Housing Center v. Connor Group, 2014
14 WL 1818586 (S.D. Ohio May 7, 2014), and Thompson v. Hamp, 2017 WL 1393589
15 (N.D. Miss. Apr. 18, 2017), fares no better since, unlike here, the opposing party in
16 both cases sought to broadly introduce evidence of news coverage about the
17 litigation as opposed to statements made by a party to the media concerning facts at
18 issue in the case. See Dkt. No. 270 at 4.
19            Plaintiff’s purported concern that this evidence will lead to “unnecessary
20 digressions” because Plaintiff will have to “present counter-evidence” is misplaced.
21 Dkt. No. 270 at 4. Beyond the fact that presenting evidence and counter-evidence is
22 the purpose of trial, to the extent Plaintiff has an innocent explanation as to why she
23 falsely claimed to have created the story on which Emanuel is based, she likely will
24 want to provide that explanation. Moreover, as explained at multiple meet-and-
25 confers with Plaintiff’s counsel, Defendants do not seek to introduce a “cherry-
26 picked presentation of unfavorable media reports” (Dkt. No. 270 at 4), but rather the
27 evidence showing Plaintiff’s false statements to the media.
28
                                                                           DAVIS WRIGHT TREMAINE LLP
                                                     4                       865 S. FIGUEROA ST, SUITE 2400
     DEFENDANTS’ OPPOSITION TO PLAINTIFF’S MOTION IN LIMINE #4            LOS ANGELES, CALIFORNIA 90017-2566
                                                                                       (213) 633-6800
     4858-4889-9056v.2 0113237-000003                                                Fax: (213) 633-6899
Case 2:20-cv-00406-SSS-JC               Document 296 Filed 10/25/24   Page 6 of 6 Page ID
                                              #:22473

 1                                               CONCLUSION
 2            Plaintiff’s misrepresentations to the media and their reporting on those
 3 misrepresentations are highly relevant and not unfairly prejudicial. Plaintiff’s
 4 motion should be denied.
 5
 6 DATED: October 25, 2024                          DAVIS WRIGHT TREMAINE LLP
                                                    NICOLAS A. JAMPOL
 7                                                  CYDNEY SWOFFORD FREEMAN
                                                    MEENAKSHI KRISHNAN
 8                                                  CARL MAZUREK
 9                                                  By:   /s/ Nicolas A. Jampol
                                                             Nicolas A. Jampol
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
                                                                           DAVIS WRIGHT TREMAINE LLP
                                                     5                        865 S. FIGUEROA ST, SUITE 2400
     DEFENDANTS’ OPPOSITION TO PLAINTIFF’S MOTION IN LIMINE #4             LOS ANGELES, CALIFORNIA 90017-2566
                                                                                        (213) 633-6800
     4858-4889-9056v.2 0113237-000003                                                 Fax: (213) 633-6899
